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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 THOMAS FEW                                                         2:18−cv−09531−DDP−JEM
                                                  Plaintiff(s),

          v.
 UNITED TEACHERS LOS ANGELES, et al.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         11/13/2018
 Document Number(s):                 12
 Title of Document(s): MOTION for Preliminary Injunction re Dues Collection and
 Exclusive Representation . Motion filed by plaintiff Thomas Few. (Attachments: # 1
 Memorandum
 ERROR(S) WITH DOCUMENT:

 Hearing information is missing, incorrect, or not timely.

 Proposed Document was not submitted as separate attachment.




 Other:

 Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
 notice unless and until the Court directs you to do so.


                                                             Clerk, U.S. District Court

 Dated: November 14, 2018                                    By: /s/ Sharon Hall−Brown 213−894−3651
                                                                Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge


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Case Please
     2:18-cv-09531-JLS-DFM
            refer to the Court’s website atDocument    13 Filed
                                            www.cacd.uscourts.gov for11/14/18     Page Orders,
                                                                     Local Rules, General 2 of 2 and
                                                                                                   Page    ID #:69
                                                                                                     applicable forms.




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